Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 1 of 7 PageID #:
                                     375
Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 2 of 7 PageID #:
                                     376
Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 3 of 7 PageID #:
                                     377
Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 4 of 7 PageID #:
                                     378
Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 5 of 7 PageID #:
                                     379
Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 6 of 7 PageID #:
                                     380
Case: 4:10-cr-00291-JCH   Doc. #: 117 Filed: 04/07/11   Page: 7 of 7 PageID #:
                                     381
